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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-578V
                                     Filed: February 1, 2016

* * * * * * * * * * * * * * * *                          UNPUBLISHED
JAMES A. FIELDS,                             *
                                             *           Special Master Hamilton-Fieldman
             Petitioner,                     *
                                             *           Joint Stipulation on Damages;
v.                                           *           Influenza (“Flu”) Vaccine;
                                             *           Transverse Myelitis.
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
             Respondent.                     *
* * * * * * * * * * * * * * * *
Gary A. Bryant, Willcox & Savage, PC, Norfolk, VA, for Petitioner.
Althea W. Davis, United States Department of Justice, Washington, D.C., for Respondent.

                                           DECISION1

        On August 14, 2013, James A. Fields (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006); Petition
(“Pet.”), ECF No. 1, at 1-2. In an amended Petition3, filed on December 10, 2014, Petitioner
alleged that an influenza (“flu”) vaccination administered on December 2, 2011 caused
“significant aggravation of [his] transverse myelitis or myelopathy.” Amended Pet., ECF No.
32, at 1.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
 In his initial Petition, Petitioner alleged that the influenza vaccine administered on December 2,
2011 caused him to develop transverse myelitis. Pet. at 1.

                                                  1
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        On February 1, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Stipulation, ECF No. 48. Respondent denies that the
flu vaccine caused or significantly aggravated Petitioner’s transverse myelitis, any other injury,
or his current disabilities. However, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds the stipulation reasonable and adopts it as the decision of
the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that Petitioner shall receive the following compensation:

       A lump sum of $50,000.00 in the form of a check payable to Petitioner. This amount
       represents compensation for all damages that would be available under 42 U.S.C.
       §300aa-15(a).

       Stipulation ¶ 8.

        The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.4

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
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